




NO. 07-03-0133-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



FEBRUARY 20, 2004



______________________________





FORTY-ONE (41) GAMBLING DEVICES, SIXTEEN THOUSAND 

SIX HUNDRED FORTY-EIGHT DOLLARS ($16,648.00) IN 

UNITED STATES CURRENCY AND EIGHT HUNDRED FORTY 

DOLLARS ($840.00) IN GIFT CERTIFICATES, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 181
ST
 DISTRICT COURT OF POTTER COUNTY;



NO. 89,868-B; HONORABLE JOHN B. BOARD, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

Presenting four points of error, Marty Vanaman, Jr. challenges the trial court’s rendition of a summary judgment forfeiting his property, including 41 eight-liner gambling devices, $16,648 in cash, and $840 in gift certificates pursuant to article 18.18 of the Texas Code of Criminal Procedure.
(footnote: 1) &nbsp;Based upon the following rationale, we reverse and remand. 

On November 5, 2001, Dan Howington, an undercover officer with the Panhandle Regional Narcotics Trafficking Task Force, entered Ninth Street Amusements and played a machine commonly known as an eight-liner. &nbsp;After compiling a number of credits on the machine, he advised a Ninth Street employee that he wanted to cash out. &nbsp;The employee tabulated the amount owed Howington by the machine and paid him that sum in cash. &nbsp;During his stay at Ninth Street, Howington noticed approximately 40 other machines, each of which appeared to operate in the same manner as the device on which he played. &nbsp;Howington also observed that Ninth Street appeared to engage in no other commercial venture but the operation of eight-liners. &nbsp;

Based upon his investigation, Howington, on December 12, 2001, obtained a search warrant commanding the seizure from Ninth Street of all gambling devices, gambling paraphernalia, and coupons or gift certificates, or any other proceeds derived from the operation of the gambling devices or paraphernalia. &nbsp;While executing the warrant, officers seized the property described above. &nbsp;On May 14, 2002, the State, electing not to proceed with a criminal prosecution, filed a petition seeking forfeiture of the eight-liners, cash, and gift certificates pursuant to article 18.18.
(footnote: 2) &nbsp;By its petition, the State asserted the District Court
(footnote: 3) had jurisdiction to hear the action, and alleged it had satisfied all conditions precedent to filing or maintaining it. &nbsp;In response to the petition, Vanaman filed a general denial.
(footnote: 4) &nbsp;

Following six months of discovery, the State filed a combination traditional and no-evidence motion for summary judgment,
(footnote: 5) relying upon article 18.18 as authority for relief. &nbsp;As grounds for the traditional motion, the State asserted the summary judgment evidence conclusively established that the seized eight-liners were gambling devices and/or gambling paraphernalia, and that the cash and gift certificates were gambling proceeds. &nbsp;In support of the no-evidence motion, the State alleged there was no evidence the eight-liners, cash, and gift certificates did not wholly consist of gambling devices and/or gambling paraphernalia, and gambling proceeds, respectively. &nbsp;The summary judgment evidence consisted of 
Howington’s affidavit in support of the search warrant, the search warrant, and Vanaman’s responses to the State’s requests for admissions. 

In his response to the State’s motion for summary judgment, Vanaman claimed Howington’s affidavit was not probative as summary judgment evidence because it “purported to be that of an expert witness and a fact witness to all necessary elements of the State’s case.” &nbsp;Vanaman also suggested the eight-liners were legally operated pursuant to section 47.01(4)(B) of the Texas Penal Code (Vernon 2003), commonly known as the fuzzy animal exception. &nbsp;Additionally, he asserted a no-evidence summary judgment was inappropriate because the State failed to establish it had complied with the procedural requirements of article 18.18. &nbsp;&nbsp;

Concluding there was no genuine issue of material fact, in January 2003, the trial court rendered summary judgment in favor of the State on both traditional and no-evidence grounds. &nbsp;Specifically, the court concluded as a matter of law that the seized property constituted gambling devices and gambling proceeds and was, thus, subject to forfeiture under article 18.18. &nbsp;Additionally, the court found there to be no evidence to support any claim under section (f) of article 18.18 that the property, currency, and gift certificates seized from Ninth Street were not gambling devices, paraphernalia, or proceeds. &nbsp;&nbsp;&nbsp;

By four points of error, Vanaman claims: &nbsp;(1) his due process rights were violated by the trial court’s failure to abide by the mandatory terms of article 18.18; (2) the trial court lacked jurisdiction to hear the State’s motion for summary judgment because of its failure to have a show cause hearing as required by article 18.18; (3) the trial court improperly granted the motion for summary judgment when disputed fact issues remained; and (4) “the search warrant used to seized [sic] Appellant’s [Vanaman’s] property was defective.” &nbsp;We will consider Vanaman’s first and third points contemporaneously.

Standard of Review–Traditional Motion



Where, as here, the trial court’s order explicitly specifies the ground relied upon for the summary judgment ruling, the ruling can only be affirmed if the theory is meritorious; otherwise the case must be remanded. &nbsp;State Farm Fire &amp; Cas. Co. v. S.S., 858 S.W.2d 374, 381 (Tex. 1993). &nbsp;For a movant to prevail in the context of a traditional summary judgment, he must conclusively establish: &nbsp;(1) the absence of any genuine question of material fact; and (2) he is entitled to judgment as a matter of law. &nbsp;&nbsp;
Nixon v. Mr. Property Management, 690 S.W.2d 546, 548-49 (Tex. 1985). &nbsp;A movant must either prove all essential elements of his claim, or negate at least one essential element of the nonmovant's cause of action. &nbsp;
See
 MMP, Ltd. v. Jones, 710 S.W.2d 59, 60 (Tex. 1986) 
and 
Randall's Food Markets, Inc. v. Johnson, 891 S.W.2d 640, 644 (Tex. 1995). &nbsp;When determining whether summary judgment was proper, we review the evidence in the light most favorable to the nonmovant taking all evidence in favor of the nonmovant as true and resolving all doubts as to the existence of a genuine issue of material fact in its favor. &nbsp;Harwell v. State Farm Mut. Auto Ins. Co., 896 S.W.2d 170, 173 (Tex. 1995). &nbsp;Once the movant has established a right to summary judgment, the nonmovant has the burden to respond to the motion for summary judgment and present to the trial court any issues that would preclude it . &nbsp;City of Houston v. Clear Creek Basin Authority, 589 S.W.2d 671, 678 (Tex. 1979). &nbsp;Because our analysis of Vanaman’s first and third points controls our disposition of the case, we need not address the standard of review for a no-evidence motion for summary judgment. 

 By points one and three, Vanaman argues he was not afforded the notice and opportunity to be heard mandated by article 18.18, and a genuine issue of material fact existed precluding summary judgment. &nbsp;We agree. &nbsp;Statutory proceedings seeking forfeiture of property are civil in nature
; therefore, the Texas Rules of Civil Procedure apply. &nbsp;
See 
Hardy v. State, 102 S.W.3d 123, 126 (Tex. 2003); 
see also
 F &amp; H Investments, Inc. v. State, 55 S.W.3d 663, 668 (Tex.App.–Waco 2001, no pet.). &nbsp;Because the law abhors a forfeiture, statutes authorizing forfeiture are strictly construed. 
 See
 State v. Lot 10, Pine Haven Estates, 900 S.W.2d 400, 402 (Tex.App.–Texarkana 1995, no writ) (affirming trial court’s denial of State’s motion for summary judgment in suit seeking forfeiture of property). 
 Here, because there was no show cause hearing, the State sought forfeiture of the property seized from Ninth Street through a motion for summary judgment under Rule 166a of the Texas Rules of Civil Procedure. &nbsp;By the motion, the State alleged article 18.18 authorized the relief it sought. &nbsp;Among other things, that statute requires the magistrate to whom the search warrant is returned: &nbsp;(1) to provide written notification of the seizure and imminent forfeiture to the person found in possession of the property; (2) to include a detailed description of the seized property in the notice; and (3) to send the required notice via certified mail, return receipt requested. &nbsp;
See
 art. 18.18 (b), (c), &amp; (d). &nbsp;&nbsp;&nbsp;Additionally, the statute affords any person interested in the seized property the opportunity to appear before the magistrate for a show cause hearing on the 20
th
 day following the date the notice was mailed or posted. &nbsp;
See 
art. 18.18 (e) &amp; (f). &nbsp;

 Vanaman does not contend that a motion for summary judgment is not an appropriate alternative to a show cause hearing; therefore, we need not determine whether the procedure set out in article 18.18 is the exclusively authorized procedure for disposing of gambling devices, paraphernalia, and proceeds. &nbsp;However, notice and hearing are the process used to protect a property interest. &nbsp;Elm Creek Owners v. H.O.K. Investments, 12 S.W.3d 494, 498 (Tex.App.–San Antonio 1999, no pet.).
(footnote: 6) &nbsp;Therefore, because the State expressly based its pleadings and motion for summary judgment upon article 18.18 as authority for forfeiture of the property, it was required to show compliance with the notice procedures mandated by that article. &nbsp;Accordingly, to establish its entitlement to summary judgment under 
the statute, it was necessary for the State to provide summary judgment evidence demonstrating written notice was provided. &nbsp;We cannot discern from the record whether such notice was given. &nbsp;As a result, the State failed to establish its right to summary judgment, and the burden did not shift to Vanaman to respond to the motion for summary judgment or present the trial court any issues that would preclude it. &nbsp;
Clear Creek Basin
, 589 S.W.2d at 678.
(footnote: 7) &nbsp;Vanaman’s first and third points are sustained. &nbsp;Our disposition of these points precludes our consideration of his remaining points. 

Accordingly, the judgment of the trial court is reversed and the cause is remanded &nbsp;for further proceedings. 



Don H. Reavis

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice







 







FOOTNOTES
1:All references to articles are to the Code of Criminal Procedure unless otherwise designated. &nbsp;(Vernon Supp. 2004). &nbsp;


2:In its petition, the State requested citation be issued to Vanaman and Cynthia Lloyd, who was alleged to be the person found in possession of the seized property. &nbsp;Lloyd, however, is not a party to this appeal. &nbsp;&nbsp;&nbsp;


3:The judge of the 181
st
 District Court was the magistrate who authorized the search warrant.


4:Vanaman did not designate his answer to be included in the clerk’s record; however, the State concedes an answer was filed. &nbsp;


5:See
 Tex. R. Civ. P. 166a(c) &amp; (i).


6:See also
 Tex. Const. art. I, § 19 (No citizen of this State shall be deprived of life, liberty, 
property
, privileges or immunities, or in any manner disfranchised, 
except by due course of the law of the land
). &nbsp;(Emphasis added).


7:The issues considered here were not presented in Twenty-Nine (29) Gambling Devices v. State, 110 S.W.2d 146 (Tex.App.–Amarillo 2003, no pet. h.).




